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                   Thomas-Jensen
                    Affirmation



                     Exhibit # 107
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; et al.,

                  Plaintiffs,

   v.                                                C.A. No. 1:25-CV-00039-JJM-PAS
   DONALD TRUMP, in his official capacity
   as President of the United States; et al.,

                  Defendants.


                           DECLARATION OF DR. GREG HIRTH

        I, Greg Hirth, declare as follows:

        1.     I am the Vice President for Research at Brown University (“Brown”) in

 Providence, Rhode Island. I have held that position since February 4, 2025, after serving as

 interim Vice President for Research starting in September 2024. I am also a Professor of Earth,

 Environmental, and Planetary Sciences, and a federally funded researcher. I have been on the

 faculty at Brown since 2007. I make this declaration in support of Plaintiffs’ Motion for a

 Preliminary Injunction.

        2.     As Vice President for Research, I have personal knowledge of the contents of this

 declaration, or have knowledge of the matters based on my review of information and records

 gathered by Brown University personnel in the Division of Research, and could testify thereto.

        3.     Brown is a major research institution. In fiscal year 2024, we received over $254

 million in federal funding from the National Institutes of Health (“NIH”), Department of Defense,

 Department of Veterans Affairs, National Aeronautics and Space Administration (“NASA”),

 National Science Foundation (“NSF”), and numerous other federal agencies. In addition, as a vital




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 anchor institution and top 10 employer in Rhode Island, Brown plays a major role in the economic

 well-being of the state and its residents.

        4.      The federal funding Brown receives supports cutting-edge, multi-year research

 projects spanning a wide range of subjects in the national interest, including national security,

 human health, and emerging areas of science and technology. As a research university with the

 only schools of public health and medicine in Rhode Island, Brown contributes to world-class

 medical care, strong patient outcomes, and innovative solutions for pressing health challenges

 facing all communities.

        5.      For example, Brown’s School of Engineering receives funding from the Office of

 Naval Research to conduct research that supports and advances the U.S. Navy’s capabilities in

 anti-submarine warfare. In particular, Brown researchers are currently working under a $2.72

 million federal grant that spans four years (July 2023 through June 2027) to develop the necessary

 science and technology to make unmanned undersea vehicles lighter, more maneuverable, and

 more resistant to failure under extreme environments.

        6.      Work conducted through Brown’s School of Public Health provides further

 examples of our critical research projects:

                a. Researchers are using $71 million in NIH funding over six years (July 2019

                    through June 2025) to accelerate the science of dementia care through

                    embedded pragmatic clinical trials, which impacts millions of Americans and

                    their care partners;

                b. Researchers are using $660,000 in funding from the National Institute of

                    Diabetes and Digestive and Kidney Disease for the first year of a 2.5-year




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                   project to study methods to improve nutrition and healthy eating habits of

                   preschool-aged children;

                c. Researchers anticipate using $6.6 million over approximately 3.5 years (August

                   2024 through May 2029) from the National Heart, Lung and Blood Institute to

                   study the early identification and prevention of coronary heart disease.

        7.      Another example of important work made possible through federal funding is

 NASA’s Rhode Island Space Grant Program (“RISG”), for which Brown has been the lead

 institution since 1991. With $4.7 million in funding from RISG for the current five-year period of

 performance (April 2020 through April 2025), Brown’s Department of Earth, Environment and

 Planetary Sciences promotes the study of science, math, engineering, and technology at all

 educational levels—from primary to post-secondary—to create a pipeline for and support NASA’s

 space exploration and research. A renewal application to continue the program after April 2025 is

 currently under review at NASA. Notably, the RISG consortium comprises a number of private

 and public institutions in the Rhode Island area that benefit from this federal funding, including

 Brown University, Bryant University, Community College of Rhode Island, Providence College,

 Rhode Island College, University of Rhode Island, Roger Williams University, Salve Regina

 University, Wheaton College (MA), and the Museum of Natural History & Planetarium in

 Providence.

        8.      Brown works in partnership with the federal government in its research endeavors,

 and the institution shoulders a substantial portion of the research costs. In fiscal year 2024,

 Brown’s total Research & Development expenditures totaled over $374 million, with Brown

 contributing $69.8 million.   Brown’s contributions include institutionally financed research,




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 matching funds or cost-sharing on active projects, and unrecovered direct costs. Over the last two

 years, Brown’s contribution to its institutional research enterprise has grown by $13 million.

        9.      Following the Office of Management and Budget’s issuance of M-25-13 (“OMB

 Memo”) on January 28, 2025, Brown experienced near-immediate disruptions to its ongoing

 research projects.

        10.     For example, on February 3, 2025, Brown was scheduled for an NIH review of the

 five-year renewal application for the dementia care research project described in Paragraph 6. That

 morning, the NIH informed Brown that, because all federal advisory committee meetings had been

 canceled, Brown’s advisory committee meeting to review its renewal application was also

 canceled. That renewal application represents $83 million in potential federal funding.

        11.     The federal advisory committee meeting has not been rescheduled, and no

 additional guidance has been provided from the agency to date.

        12.     The renewal is scheduled to begin on July 1, 2025, but cannot move forward

 without the review meeting. I expect this uncertainty may have significant consequences for data

 vendors and clinical trials that are critical for this large-scale research. In addition, over 80 staff

 members at Brown are paid either fully or partially by this funding. If the renewal is delayed, that

 would impact the availability of personnel, resources, and third-party relationships required for the

 continuation of this research.

        13.     Other work also remains disrupted, despite the Temporary Restraining Order issued

 in this litigation on January 31, 2025. For example, Brown received a stop-work order on a

 subaward titled “Marshaling Evidence, Partnerships, and Learning to Combat Domestic Erosion,”

 which in turn supports a U.S. State Department grant. The prime institution for the federal grant




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 reported that the funding was suspended as of January 24, 2025, because it “no longer effectuates

 agency priorities.”

        14.     And Brown’s NSF Postdoctoral Fellows—who perform entrepreneurial research in

 a range of science and engineering fields, and are paid directly from NSF—did not receive their

 pay as scheduled at the end of January/start of February. Some still have not been paid to date.

        15.     Following the issuance of the OMB memo, Brown advised our research community

 to hold off on large equipment purchases, given the uncertainty around the availability of federal

 funds going forward. This is a temporary measure, but longer term, it will affect the ability of

 researchers to carry out their work.

        16.     If the pause in federal financial assistance were to be reinstated, or if such funding

 were to be withdrawn permanently, all of Brown’s research programs that rely on federal

 funding—including those outlined in Paragraphs 5–7, above—would be in jeopardy. That would

 include funding for research and programs from the Medical School and School of Public Health,

 to the School of Engineering, to all corners of the Physical Sciences, including Physics, Earth

 Sciences, Computer Sciences, Chemistry, and Applied Mathematics.

        17.     Research programs that depend on federal funding would need to be severely

 downsized or even suspended. These types of disruptions threaten a loss of institutional memory

 with respect to key research tasks, as well as critical technical staff support. Furthermore, an

 extended pause would jeopardize the ability to pay salaries, and thus the continuity of research for

 a broad range of research scientists, postdoctoral associates, and graduate students. This lack of—

 or even significant uncertainty around—federal research funding will make it more difficult for

 domestic universities like Brown to recruit talented faculty and student researchers to work on

 these important projects. All these disruptions, interruptions, and uncertainty in federal research




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 funding and the resulting staffing gaps will in turn significantly compromise scientific

 advancement in numerous areas critical to the public interest, including national security, human

 health, and innovations in science and technology.

        I declare under penalty of perjury that the foregoing is true and correct.

               Executed on February 5, 2025, at Providence, Rhode Island.




                                              _____________________________________
                                                     Greg Hirth




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